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                  IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONTANA

                                  HELENA DIVISION

 BNSF RAILWAY COMPANY,
 a Delaware Corporation,
                                                  No. CV 21-54-H-SEH
                           Plaintiff,

 vs.                                              ORDER

 TERRY ROD,

                           Defendant.

       This case is exempt from initial disclosure under Fed. R. Civ. P. 26(a)(l)(B)

and is subject to L.R. 16.2(a).

       ORDERED:

       1.    Lead counsel for each party shall meet on or before October 22, 2021,

to develop a case management plan. The parties shall file the case management

plan on or before November 5, 2021. The case management plan filed by the

parties will not be subject to revision absent compelling reasons.

       2.    The case management plan shall contain deadlines for the following

pretrial motions and events or shall state that such deadlines are not necessary:

             a.     Motions to dismiss (fully briefed);

             b.     Certification of administrative record;
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